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 6                                     UNITED STATES DISTRICT COURT

 7                                           DISTRICT OF NEVADA

 8                                                     ***
                                                       )
 9   UNITED STATES OF AMERICA                          )
                                                       )
10                        Plaintiff,                   )      2:03-cr-0350-LRH-LRL
                                                       )
11   v.                                                )
                                                       )      ORDER
12   TORRES HYMON,                                     )
                                                       )
13                        Defendant.                   )
                                                       )
14

15          Before the court are defendant Torres Hymon’s (“Hymon”) motion for reduction in sentence

16   pursuant to 18 U.S.C. § 3582 (Doc. #13341) and motion to vacate, set aside, or correct his sentence

17   pursuant to 28 U.S.C. § 2255 (Doc. #1337).

18   I.     Facts and Procedural History

19          On March 1, 2005, Hymon pled guilty to conspiracy to engage in a racketeer influenced

20   corrupt organization in violation of 18 U.S.C. § 1962(d). Doc. #586. Hymon was subsequently

21   sentenced to eighty-seven (87) months incarceration. Doc. #815. Thereafter, Hymon filed the

22   present motions for reduction in sentence (Doc. #1334) and to vacate, set aside, or correct his

23   sentence (Doc. #1337).

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26          1
                Refers to the court’s docket number.
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 1   II.    Motion for Reduction in Sentence (Doc. #1334)

 2          Pursuant to 18 U.S.C. § 3582, a court may modify or reduce a petitioner’s sentence if there

 3   has a been a post-sentencing reduction in the applicable sentencing guidelines for the underlying

 4   crime. 18 U.S.C. § 3582(c)(2). However, in order to modify a petitioner’s sentence, the petitioner

 5   must establish that: (1) he was sentenced to a term of imprisonment based on a sentencing range

 6   that was subsequently lowered by the Sentencing Commission, and (2) the reduction in sentence

 7   must be consistent with the Sentencing Commission’s applicable policy statements. United States

 8   v. Morales, 590 F.3d 1049, 1051 (9th Cir. 2010).

 9          Here, the court has reviewed the documents and pleadings on file in this matter and finds

10   that Hymon has failed to meet his burden to establish that the applicable sentencing guideline range

11   related to his conviction was lowered. Nowhere in his motion does he identify any change in the

12   sentencing guidelines for conspiracy to engage in a racketeer influenced corrupt organization in

13   violation of 18 U.S.C. § 1962(d). Thus, Hymon fails to meet his burden to show that he is entitled

14   to a reduction in sentence and the court shall deny his motion accordingly.

15   III.   Motion to Vacate, Set Aside, or Correct Sentence (Doc. #1337)

16          Pursuant to 28 U.S.C. § 2255, a prisoner may move the court to vacate, set aside, or correct

17   a sentence if “the sentence was imposed in violation of the Constitution or laws of the United

18   States, or that the court was without jurisdiction to impose such sentence, or that the sentence was

19   in excess of the maximum authorized by law, or is otherwise subject to collateral attack.”

20   28 U.S.C. § 2255; 2 Randy Hertz & James S. Liebman, Federal Habeas Corpus Practice and

21   Procedure § 41.3b (5th ed. 2005).

22          In his motion for relief under § 2255, Hymon argues that his counsel was constitutionally

23   ineffective at sentencing because his counsel failed to object to a four (4) point enhancement for

24   being an organizer or leader of the criminal enterprise. See Doc. #1337.

25          The Sixth Amendment to the Constitution provides that criminal defendants “shall enjoy

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 1   the right to have the assistance of counsel for his defense.” U.S. Const. Amend. VI. To establish

 2   ineffective assistance of counsel, a petitioner must show that his counsel’s performance was

 3   deficient, and that petitioner was prejudiced as a result of counsel’s deficient performance.

 4   Strickland v. Washington, 466 U.S. 668, 687 (1984). In determining whether counsel’s performance

 5   was deficient, the court must examine counsel’s overall performance, both before and at trial, and

 6   must be highly deferential to the attorney’s judgments.” Quintero-Barraza, 78 F.3d at 1348 (citing

 7   Strickland, 466 U.S. at 688-89) (internal quotations omitted). Once a petitioner has established that

 8   counsel’s performance was deficient, the petitioner “must then establish that there is a reasonable

 9   probability that, but for counsel’s unprofessional errors, the result of the proceeding would have

10   been different. A reasonable probability is a probability sufficient to undermine confidence in the

11   outcome.” Id.

12          After reviewing the documents and pleadings on file in this matter, the court finds that

13   Hymon has failed to establish that his counsel’s performance was constitutionally ineffective.

14   Hymon fails to provide any basis for his claim that he was not an organizer of the criminal

15   enterprise and therefore not entitled to the four (4) point enhancement. Rather, Hymon simply

16   argues that counsel should have objected to this enhancement but fails to identify on which grounds

17   his counsel could have objected or that such an objection would have been sustained in light of his

18   acknowledgment in both the plea agreement and the plea hearing that he was a leader in the

19   underlying criminal activity and that such evidence could be used in his sentencing determination.

20   Thus, Hymon has failed to establish that his claim for ineffective assistance of counsel is anything

21   but frivolous. Accordingly, the court shall deny his motion to vacate, set aside, or correct sentence.

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 1          IT IS THEREFORE ORDERED that defendant’s motion for reduction in sentence

 2   (Doc. #1334) and motion to vacate or correct sentence pursuant to 28 U.S.C. § 2255 (Doc. #1337)

 3   are DENIED.

 4          IT IS SO ORDERED.

 5          DATED this 26th day of September, 2011.

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                                                           LARRY R. HICKS
 8                                                         UNITED STATES DISTRICT JUDGE

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